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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 COMMODITY FUTURES TRADING                             )
 COMMISSION                                            )
             Plaintiff,                                )
                                                       ) Case No. 11-cv-10949
 v.                                                    ) Hon. Mark A. Goldsmith
                                                       )
 ALAN JAMES WATSON, MICHAEL POTTS,                     )
 and CASH FLOW FINANCIAL, LLC,                         )
                                                       )
                      Defendants,                      )
 And                                                   )
                                                       )
 THE JEDBURGH GROUP,                                   )
                                                       )
                      Relief Defendant.                )
                                                       )

              ORDER APPROVING RECEIVER’S FINAL REPORT,
          FINAL ACCOUNTING AND COMPENSATION REQUEST AND
                        CLOSING THE ESTATE

          Phillip S. Stenger, in his capacity as Receiver, by and through his attorneys,

 STENGER & STENGER, P.C., having filed his Motion and Memorandum for Entry of

 an Order Approving the Receiver’s Final Report, Final Accounting and

 Compensation Request and Closing the Estate (the “Closing Motion”) (ECF. No.

 213),1 moving this Court to enter an order (the “Closing Order”):

          1.    Approving the Receiver’s Final Report (ECF No. 212);

          2.    Approving the Receiver’s Final Accounting (ECF No. 214);




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          3.    Unfreezing and authorizing consolidation of the Receivership Estate’s

          three bank accounts at Fifth Third Bank, and authorizing and directing the

          Receiver to transfer the current balances in the CFF Distribution Account

          (Account No. xxxx2638) and CFF Savings Account (Account No.

          xxxx2620) into the CFF Operating Account (Account No. xxxx2612);

          4.    Approving the Receiver’s Compensation Motion No. 24 (ECF No.

          211), concurrently filed by the Receiver, in the amount of USD $38,344.81

          for the period of October 1, 2018 through February 28, 2019, and

          authorizing the Receiver to pay that sum from the consolidated CFF

          Operating Account (Account No. xxxx2612) at Fifth Third Bank;

          5.    Approving all distributions made by the Receiver pursuant to the

          orders of this Court, including the Second Distribution made pursuant to the

          Court’s Second Distribution Approval Order dated June 21, 2018;

          6.    Approving the payment of taxes previously made by the Receiver, and

          authorizing the Receiver to make any filings with the Internal Revenue

          Service (“IRS”), state or local authorities which are necessary or incident to

          closing the Receivership Estate, without necessity of further court orders;

          7.    Approving and authorizing the Receiver to hold back a Reserve Fund

          of approximately USD $69,675.91, comprised of the residual Receivership


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     All capitalized terms shall have the definitions set forth in the Closing Motion.
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       Estate assets in the consolidated CFF Operating Account (Account No.

       xxxx2612) at Fifth Third Bank after payment of Compensation Motion No.

       24, which Reserve Fund shall be held in trust in the CFF Operating Account

       as a reserve, pending IRS clearance of the Receivership Estate’s open

       Qualified Settlement Fund tax returns (“Open QSF Returns”); and

       authorizing the Receiver to file a petition to reopen the Receivership Estate

       and seek further compensation out of the Reserve Fund if obtaining IRS tax

       clearance becomes more complicated than the Receiver anticipates, or other

       issues arise;

       8.    Approving and authorizing disgorgement by the Receiver to the

       Commission, for Commission turnover to the United States Treasury, of the

       Reserve Fund balance remaining after IRS clearance of the Receivership

       Estate’s Open QSF Returns, and any final expenses that may be incurred in

       obtaining such clearance, in closing down the Receivership Estate, and

       responding to other issues, if any, that may arise, without necessity of further

       court orders;

       9.    Authorizing the Receiver to destroy all documents and other records

       of or related to the Receivership Estate or its current or former properties

       and assets which are non-essential to winding up the Receivership;




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       10.   Finding that the Receiver and his Retained Personnel are entitled to

       rely on all outstanding rules of law and court orders and shall not be liable to

       anyone for their own good faith compliance with an order, rule, law,

       judgment or decree; in no event shall the Receiver or his Retained Personnel

       be liable to anyone for their good faith compliance with their duties and

       responsibilities as Receiver or counsel for, accountant for, or consultant to,

       the Receiver, nor shall the Receiver or his Retained Personnel be liable to

       anyone for any actions taken or omitted by them except upon a finding by

       this Court that he or they acted or failed to act as a result of misfeasance or a

       bad faith disregard of their duties; and

       11.   Discharging the Receiver; reaffirming this Court’s exoneration of the

       Receiver, his Retained Personnel and their affiliates, consultants and

       employees, from any liability in connection with the Receivership, and

       closing the Receivership Estate, subject only to the making of those

       payments listed above.

       The Court, being fully familiar with the background of this matter, having

 determined that the Commission has agreed to payment of the Receiver’s

 Compensation Motion No. 24 (ECF No. 211), and the Court hereby finding that

 the requested fees are reasonable and commensurate with the services performed,




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 and further finding that the Receiver and his Retained Personnel have discharged

 their duties and responsibilities in good faith.

       WHEREFORE, in addition to the other findings and conclusions contained

 in this Closing Order, the Court hereby finds, concludes and orders as follows.

       IT IS ORDERED AND ADJUDGED that:

       A.     The Receiver’s Final Report (ECF No. 212) is approved;

       B.     The Final Accounting (ECF No. 214) is approved;

       C.     The    Court    unfreezes,   and      authorizes   consolidation   of,   the

       Receivership Estate’s three bank accounts at Fifth Third Bank, and the

       Receiver is authorized and directed to transfer the current balances in the

       CFF Distribution Account (Account No. xxxx2638) and CFF Savings

       Account (Account No. xxxx2620) into the CFF Operating Account (Account

       No. xxxx2612);

       D.     The Receiver’s Compensation Motion No. 24 (ECF No. 211), in the

       amount of USD $38,344.81, is hereby approved, and the Receiver is

       authorized and directed to pay that sum from the consolidated CFF

       Operating Account No. xxxx2612;

       E.     All distributions made by the Receiver pursuant to the orders of this

       Court, including the Second Distribution made pursuant to the Second

       Distribution Approval Order, are approved;


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       F.    The payment of taxes previously made by the Receiver are approved,

       and the Receiver is authorized to make any filings with the Internal Revenue

       Service (“IRS”), state or local authorities which are necessary or incident to

       closing the Receivership Estate, without necessity of further court orders;

       G.    The Receiver is authorized and directed to hold back a Reserve Fund

       of approximately USD $69,675.91, comprised of the residual Receivership

       Estate assets in the consolidated CFF Operating Account No. xxxx2612 at

       Fifth Third Bank after payment of Compensation Motion No. 24, which

       Reserve Fund shall be held in trust in the CFF Operating Account as a

       reserve, pending IRS clearance of the Receivership Estate’s Open QSF

       Returns; if obtaining IRS tax clearance becomes more complicated than the

       Receiver anticipates, or other issues arise, the Receiver is authorized to file a

       petition to reopen the Receivership Estate and seek further compensation out

       of the Reserve Fund;

       H.    The Receiver is authorized and directed to disgorge to the

       Commission, for Commission turnover to the United States Treasury, the

       Reserve Fund balance remaining after IRS clearance of the Receivership

       Estate’s Open QSF Returns, and any final expenses that may be incurred in

       obtaining such clearance, in closing the Receivership Estate, or in response

       to other issues, if any arise, without necessity of further court orders;


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       I.    The Receiver is authorized and directed to destroy, but not earlier than

       90 days after entry of this Order, all documents and other records of or

       related to the Receivership Estate or its current or former properties and

       assets which are non-essential to winding up the Receivership Estate;

       J.    The Receiver and his Retained Personnel are entitled to rely on all

       outstanding rules of law and court orders and shall not be liable to anyone

       for their own good faith compliance with an order, rule, law, judgment or

       decree; in no event shall the Receiver or his Retained Personnel be liable to

       anyone for their good faith compliance with their duties and responsibilities

       as Receiver or counsel or accountant for, or consultant to, the Receiver, nor

       shall the Receiver or his Retained Personnel be liable to anyone for any

       actions taken or omitted by them except upon a finding by this Court that he

       or they acted or failed to act as a result of misfeasance or a bad faith

       disregard of their duties; and the Receivership Estate shall indemnify the

       Receiver and his Retained Personnel harmless from any and all third party

       claims, demands, liabilities, judgments, losses, damages, actions, causes of

       action, expenses and costs (including reasonable attorney fees) that the

       Receiver and his Retained Personnel may incur arising out of or by reason of

       their duties and responsibilities as Receiver or counsel or accountant for, or

       consultant to, the Receiver;


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       K.    The Receiver is hereby discharged, the Receiver and his Retained

       Personnel and their affiliates, consultants and employees, are hereby

       exonerated from any liability in connection with the Receivership, and the

       Receivership is hereby closed, subject only to the making of those payments

       and filings listed above;

       L.    The Closing Motion with all exhibits, and this Closing Order, shall be

       available to the public at the Clerk of the Court for the United States District

       Court for the Eastern District of Michigan (Southern Division) for inspection

       and copying at such Court Clerk’s offices during normal business hours by

       any interested party who wishes to examine the same; provided that the

       Court Clerk shall provide a copy of the Closing Motion with all exhibits, and

       this Closing Order to any person requesting the same at such person’s cost,

       subject to such Court Clerk’s normal practices, procedures and requirements

       concerning same; and

       M.    The Receiver is further directed to post a copy of the Closing Motion

       with all exhibits, and this Closing Order on the Receiver’s website at

       www.cffreceiver.com

       SO ORDERED.

 Dated: July 15, 2019                          s/Mark A. Goldsmith
       Detroit, Michigan                       MARK A. GOLDSMITH
                                               United States District Judge


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